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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.

 VICTOR ARIZA,

        Plaintiff,

 vs.

 VICTORIA’S SECRET DIRECT BRAND
 MANAGEMENT, LLC, d/b/a VICTORIA’S
 SECRET, a foreign limited liability
 company,

       Defendant.
 _____________________________________/

                                           COMPLAINT

        Plaintiff VICTOR ARIZA, through undersigned counsel, sues Defendant VICTORIA’S

 SECRET DIRECT BRAND MANAGEMENT, LLC, d/b/a VICTORIA’S SECRET, a foreign

 limited liability company, and alleges as follows:

        1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

 litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

 with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

        2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

 U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

 pursuant to 28 U.S.C. §§2201 and 2202.

        3.      Venue is proper in this Court as all actions complained of herein and injuries and

 damages suffered occurred in the Southern District of Florida.




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        4.      Plaintiff VICTOR ARIZA is a resident of Miami-Dade County, Florida, is sui juris,

 and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101

 (“ADAAA”).

        5.      Plaintiff is and at all relevant times has been blind and visually disabled in that he

 suffers from optical nerve atrophy, a permanent eye disease and medical condition that

 substantially and significantly impairs his vision and limits his ability to see. Plaintiff thus is

 substantially limited in performing one or more major life activities, including, but not limited to,

 seeing, accurately visualizing his world, and adequately traversing obstacles. As such, he is a

 member of a protected class under the ADA, 42 U.S.C. §12102(1)-(2), the regulations

 implementing the ADA set forth at 28 CFR §§36.101, et seq., and 42 U.S.C. §3602(h). Plaintiff

 further is an advocate of the rights of similarly situated disabled persons and is a “tester” for the

 purposes of asserting his civil rights and monitoring, ensuring, and determining whether places of

 public accommodation and/or their respective and associated websites are in compliance with the

 ADA and any other applicable disability laws, regulations, and ordinances.

        6.      Because he is blind, Plaintiff cannot use his computer without the assistance of

 appropriate and available auxiliary aids, screen reader software, and other technology and

 assistance. Screen reader software translates the visual internet into an auditory equivalent. At a

 rapid pace, the software reads the content of a webpage to the user. “The screen reading software

 uses auditory cues to allow a visually impaired user to effectively use websites. For example, when

 using the visual internet, a seeing user learns that a link may be ‘clicked,’ which will bring him to

 another webpage, through visual cues, such as a change in the color of the text (often text is turned

 from black to blue). When the sighted user's cursor hovers over the link, it changes from an arrow

 symbol to a hand. The screen reading software uses auditory -- rather than visual -- cues to relay



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 this same information. When a sight impaired individual reaches a link that may be ‘clicked on,’

 the software reads the link to the user, and after reading the text of the link says the word

 ‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the visually

 impaired user can navigate a website by listening and responding with his keyboard.” Andrews v.

 Blick Art Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).

        7.      Defendant is a foreign limited liability company authorized to do business and

 doing business in the State of Florida. Defendant owns, operates, and/or controls a chain of retail

 stores selling lingerie, sleepwear, and accessories, including one of the stores Plaintiff intended to

 patronize in the near future located in the Aventura Mall at 19501 Biscayne Boulevard, Aventura,

 Florida.

        8.      Plaintiff’s visual disability limits him in the performance of major life activities,

 including sight, and he requires assistive technologies, auxiliary aids, and services for effective

 communication, including communication in connection with his use of a computer.

        9.      Plaintiff frequently accesses the internet. Because he is blind, to effectively

 communicate and comprehend information available on the internet and thereby access and

 comprehend websites, Plaintiff uses commercially available screen reader software to interface

 with the various websites.

        10.     At all times material hereto, Defendant was and still is an organization that owns,

 operates, and/or controls a chain of retail stores selling lingerie, sleepwear, and accessories under

 the brand name “Victoria’s Secret”. Each “Victoria’s Secret” store is open to the public. As the

 owner, operator, and/or controller of these retail stores, Defendant is defined as a place of “public

 accommodation" within meaning of the ADA because Defendant is a private entity which owns




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 and/or operates “a bakery, grocery store, clothing store, hardware store, shopping center, or other

 sales or rental establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

        11.     Because Defendant is a store open to the public, each of Defendant’s physical stores

 is a place of public accommodation subject to the requirements of the ADA, 42 U.S.C. §12182,

 §12181(7)(E), and its implementing regulations, 28 C.F.R. Part 36.

        12.     Defendant also owns, controls, maintains, is linked to, and/or operates an adjunct

 website, https://www.victoriassecret.com/us (the “Website”). One of the functions of the Website

 is to provide the public information on the locations of Defendant’s physical stores through a “store

 locator” feature that identifies stores that sell Defendant’s merchandise throughout the United

 States and within the State of Florida. Defendant also sells to the public its merchandise through

 the Website, which acts as a point of sale for merchandise available in, from, and through

 Defendant’s physical stores (but not necessarily the physical store Plaintiff intended to patronize).

 In addition, the Website allows the public to apply online for store credit, purchase gift cards for

 use online and in the physical stores, and arrange in-store pickups and returns of merchandise

 purchased online.

        13.     The Website also services Defendant’s physical stores by providing information on

 available products, services, tips and advice, editorials, sales campaigns, events, and other

 information that Defendant is interested in communicating to its customers.

        14.     Because the Website allows the public the ability to secure information about the

 locations of Defendant’s physical stores, purchase merchandise also available for purchase in and

 from the physical stores, purchase gift cards for use online and in the physical stores, apply online

 for credit to purchase merchandise online and in the physical stores, arrange in-store pickups and

 returns of merchandise purchased online, and sign up for an emailer to receive exclusive online



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 offers, benefits, invitations, and discounts for use online and in the physical stores, the Website

 has a nexus to, and is an extension of and gateway to, the goods, services, privileges, and

 advantages of Defendant’s physical stores, which are places of public accommodation under the

 ADA. As an extension of and service, privilege, and advantage provided by a place of public

 accommodation as defined under the ADA, the Website is an extension of the services, privileges,

 and advantages made available to the general public by Defendant at and through its brick-and-

 mortar locations and businesses. Furthermore, the Website is a necessary service and privilege of

 Defendant’s physical stores in that, as a point of sale for the stores, it enables users of the Website

 to make online purchases of Defendant’s merchandise that is available from and in its physical

 stores (but not necessarily in the physical store Plaintiff intended to patronize).

        15.      Because the public can view and purchase Defendant’s goods through the Website

 that are also offered for sale in the physical stores, thus having the Website act as a point of sale

 for Defendant’s products also sold in the physical stores, apply online for credit to purchase

 merchandise both online and in the physical stores, purchase gift cards to make purchases both

 online and in the physical stores, arrange in-store pickups and returns of merchandise purchased

 online, and sign up for an emailer to receive exclusive online offers, benefits, invitations, and

 discounts for use online and in the physical stores, the Website is an extension of, and gateway to

 the physical stores, which are places of public accommodation pursuant to the ADA, 42 U.S.C.

 §12181(7)(E).     As such, the Website is a necessary service, privilege, and advantage of

 Defendant’s brick-and-mortar stores that must comply with all requirements of the ADA, must not

 discriminate against individuals with visual disabilities, and must not deny those individuals the

 same full and equal access to and enjoyment of the goods, services, privileges, and advantages

 afforded the non-visually disabled public both online and in the physical stores.



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        16.     At all times material hereto, Defendant was and still is an organization owning,

 operating, linking to, and/or controlling the Website. Since the Website is open to the public

 through the internet, by this nexus the Website is an intangible service, privilege, and advantage

 of Defendant’s brick-and-mortar stores that must comply with all requirements of the ADA, must

 not discriminate against individuals with visual disabilities, and must not deny those individuals

 the same full and equal access to and enjoyment of the goods, services, privileges, and advantages

 as are afforded the non-visually disabled public both online and in the physical stores. As such,

 Defendant has subjected itself and the Website to the requirements of the ADA.

        17.     Plaintiff is and/or has been a customer who is interested in patronizing, and intends

 to patronize in the near future once the Website’s access barriers are removed or remedied,

 Defendant’s physical stores (including the store located at in Aventura, Florida), and to search for

 the brick-and-mortar stores, check store hours and merchandise pricing, purchase merchandise,

 apply for store credit, purchase gift cards, arrange in-store pickups and returns of merchandise

 purchased online, and sign up for an emailer to receive exclusive offers, benefits, invitations, and

 discounts for use at the Website or in Defendant’s physical stores. In the alternative, Plaintiff

 intends to monitor the Website in the near future as a tester to ascertain whether it has been updated

 to interact properly with screen reader software.

        18.     The opportunity to shop and pre-shop Defendant’s merchandise, apply online for

 store credit, purchase gift cards, arrange in-store pickups and returns, and sign up for an emailer

 to receive exclusive online offers, benefits, invitations, and discounts for use both online and in

 the physical stores from his home are important and necessary accommodations for Plaintiff

 because traveling outside of his home as a visually disabled individual is often a difficult,

 hazardous, frightening, frustrating, and confusing experience. Defendant has not provided its



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 business information in any other digital format that is accessible for use by blind and visually

 disabled individuals using screen reader software.

        19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

 his store visits and to compare merchandise, prices, sales, discounts, and promotions. Plaintiff

 may look at several dozens of sites to compare features, discounts, promotions, and prices.

        20.     During the month of October 2022, Plaintiff attempted on a number of occasions

 to utilize the Website to browse through the merchandise and online offers to educate himself as

 to the merchandise, sales, discounts, and promotions being offered, learn about the brick-and-

 mortar stores, check store hours, and check merchandise pricing with the intent to make a purchase

 through the Website or in one of the physical stores. Plaintiff also attempted to access and utilize

 the Website in his capacity as a tester to determine whether it was accessible to blind and visually

 disabled persons such as himself who use screen reader software to access and navigate company

 websites.

        21.     Plaintiff utilizes available screen reader software that allows individuals who are

 blind and visually disabled to communicate with websites. However, Defendant’s Website

 contains access barriers that prevent free and full use by blind and visually disabled individuals

 using keyboards and available screen reader software. These barriers are pervasive and include,

 but are not limited to:

                a. Interference with the screen reader is confusing and repetitive, as with each page
                opening the screen reader states, “alert quantity one, alert quantity one, alert
                quantity one”, until the page fully opens;

                b. Product sizes do not have a proper label as they offer the size as an abbreviated
                letter (S = small, M = medium, L = large, etc.); when the screen reader interprets
                the size information, it will read “cap s”, “cap m”, or “cap l” and not the actual sizes
                or an explanation and/or description of the size features or what they relate to;




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                c. Text throughout the website is not labeled properly; the cursor skips the
                information and navigates to the nearest accessible link, button, or header and text
                stating “Klarma interest free payments” is inaccessible, and the cursor jumps to the
                “Learn More” link with no explanation;

                d. In the Seamless Bikini Panty, the colors are all accessible; however, there is no
                difference between the three options to choose, such as Classic, Lace Detail and
                Textured; the colors are all read by the screen reader without the detail of the type
                of panty it is which can bar the user from choosing an item;

                e. There is no notification when an item is out of stock or unavailable; the size on
                the screen is greyed out or with a line through it; however, the user is not notified
                when an out-of-stock item is not available for purchase; and

                f. Site functions like navigation buttons for main content, menu, or footer are
                missing; every page should include hidden links that by clicking on them, either
                using the keyboard navigation or a screen reader, the user can “skip” certain blocks
                of information to go directly to main landmarks such as main content, menu, or
                footer.

        22.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

 Website that would direct him to a webpage with contact information for disabled individuals who

 have questions or concerns about, or who are having difficulties communicating with, the Website.

 However, Plaintiff was unable to do so because no such link or notice, statement, or policy existed

 on the Website.

        23.     The fact that Plaintiff could not communicate with or within the Website left him

 feeling excluded, frustrated, and humiliated, and gave him a sense of isolation and segregation, as

 he is unable to participate in the same shopping experience, with the same access to the

 merchandise, sales, services, discounts, and promotions, as provided at the Website and in the

 physical store as the non-visually disabled public.

        24.     Plaintiff desires and intends, in the near future once the Website’s access barriers

 are removed or remedied, to patronize one or more of Defendant’s physical stores and to use the

 Website, but he is presently unable to do so as he is unable to effectively communicate with



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 Defendant due to his blindness and the Website’s access barriers. Alternatively, as a tester using

 screen reader software, Plaintiff is unable to effectively access, navigate, and communicate with

 Defendant through the Website due to his blindness and the Website’s access barriers. Thus,

 Plaintiff as well as others who are blind and with visual disabilities will suffer continuous and

 ongoing harm from Defendant’s intentional acts, omissions, policies, and practices as set forth

 herein unless properly enjoined by this Court.

         25.     Because of the nexus between Defendant’s retail stores and the Website, and the

 fact that the Website clearly provides support for and is connected to Defendant’s retail stores for

 its operation and use, the Website is an intangible service, privilege, and advantage of Defendant’s

 brick-and-mortar stores that must comply with all requirements of the ADA, must not discriminate

 against individuals with disabilities, and must not deny those individuals the same full and equal

 access to and enjoyment of the goods, services, privileges, and advantages as afforded the non-

 visually disabled public both online and in the physical stores, which are places of public

 accommodation subject to the requirements of the ADA.

         26.     On information and belief, Defendant has not initiated a Web Accessibility Policy

 to ensure full and equal use of the Website by individuals with disabilities.

         27.     On information and belief, Defendant has not instituted a Web Accessibility

 Committee to ensure full and equal use of Website by individuals with disabilities.

         28.     On information and belief, Defendant has not designated an employee as a Web

 Accessibility Coordinator to ensure full and equal use of the Website by individuals with

 disabilities.




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          29.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          31.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          32.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          33.     Defendant has not created and instituted a Specialized Customer Assistance line or

  service or email contact mode for customer assistance for the visually disabled.

          34.     Defendant has not created and instituted on the Website a page for individuals with

  disabilities, nor displayed a link and information hotline, nor created an information portal

  explaining when and how Defendant will have the Website, applications, and digital assets

  accessible to the visually disabled or blind community.

          35.     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

  2.0 Level AA or higher versions of web accessibility.

          36.     Defendant has not disclosed to the public any intended audits, changes, or lawsuits

  to correct the inaccessibility of the Website to visually disabled individuals who want the safety

  and privacy of purchasing Defendant’s merchandise offered on the Website from their homes.

          37.     Defendant thus has not provided full and equal access to, and enjoyment of, the

  goods, services, facilities, privileges, advantages, and accommodations provided by and through

  the Website and the physical stores in contravention of the ADA.




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            38.   Public accommodations under the ADA must ensure that their places of public

  accommodation provide effective communication for all members of the general public, including

  individuals with visual disabilities such as Plaintiff.

            39.   The broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic life.

  That mandate extends to internet shopping websites, such as the Website at issue in the instant

  action.

            40.   Defendant is, and at all relevant times has been, aware of the barriers to effective

  communication within the Website which prevent individuals with visual disabilities from the

  means to comprehend information presented therein.

            41.   Defendant is, and at all relevant times has been, aware of the need to provide full

  access to all visitors to the Website.

            42.   The barriers that exist on the Website result in discriminatory and unequal

  treatment of individuals with visual disabilities, including Plaintiff.

            43.   Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with its website access and operation.

            44.   Notice to Defendant is not required because of Defendant’s failure to cure the

  violations.

            45.   Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

  U.S.C. §§2201 and 2202.




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         46.     Plaintiff has retained the undersigned attorneys to represent him in this case and

  has agreed to pay them a reasonable fee for their services.

                              COUNT I – VIOLATION OF THE ADA

         47.     Plaintiff re-alleges paragraphs 1 through 46 as if set forth fully herein.

         48.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

  the ADA and thus is subject to the ADA.

         49.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

  because it provides the general public with the ability to locate and learn about Defendant’s stores,

  purchase merchandise that is also available for purchase in and from the physical stores, allow

  users to apply for store credit online, purchase gift cards for use both online and in the physical

  stores, arrange in-store pickups and returns of merchandise purchased online, and sign up for an

  emailer to receive exclusive online offers, benefits, invitations, and discounts for use both online

  and in the physical stores. The Website thus is an extension of, gateway to, and intangible service,

  privilege, and advantage of Defendant’s physical stores. Further, the Website also serves to

  augment Defendant’s physical stores by providing the public information about the stores and by

  educating the public as to Defendant’s available merchandise sold through the Website and in the

  physical stores.

         50.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

  discrimination to deny individuals with disabilities or a class of individuals with disabilities an

  opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

  or accommodation, which is equal to the opportunities afforded to other individuals.

         51.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in



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  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”

         52.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps, as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

         53.     Defendant’s Website must comply with the ADA, but it does not as specifically

  alleged hereinabove and below.

         54.     Because of the inaccessibility of the Website, individuals with visual disabilities

  are denied full and equal access to, and enjoyment of, the goods, information, and services that

  Defendant has made available to the public on the Website and in the physical stores in violation

  of 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

         55.     The Website was subsequently visited by Plaintiff’s expert in October 2022 and the

  expert determination was that the same access barriers that Plaintiff had initially encountered, as

  well as numerous additional access barriers, existed. Despite being a defendant in several prior

  ADA accessibility lawsuits, one or more of which resulted in confidential settlement agreements

  that obligated Defendant to fully remediate the Website, Defendant has made insufficient material

  changes or improvements to the Website to enable its full use and enjoyment by, and accessibility



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  to, blind and visually disabled persons such as Plaintiff. Defendant also has not disclosed to the

  public any intended audits, changes, or lawsuits to correct the inaccessibility of the Website to

  visually disabled individuals, nor has it posted on the Website an effective “accessibility” notice,

  statement, or policy to provide blind and visually disabled person such as Plaintiff with a viable

  alternative means to access and navigate the Website. Defendant thus has failed to make

  reasonable modifications in its policies, practices, or procedures when such modifications are

  necessary to afford goods, services, facilities, privileges, advantages, or accommodations to

  individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a viable and effective

  “accessibility” notice, policy, or statement and the numerous access barriers as alleged herein and

  as set forth in the Declaration of Plaintiff’s expert, Robert D. Moody, attached hereto as Composite

  Exhibit “A” and the contents of which are incorporated herein by reference, continue to render the

  Website not fully accessible to users who are blind and visually disabled, including Plaintiff.

          56.     More violations may be present on other pages of the Website, which can and will

  be determined and proven through the discovery process in this case.

          57.     Further, the Website does not offer or include the universal symbol for the disabled

  that would permit disabled individuals to access the Website’s accessibility information and

  accessibility facts.

          58.     There are readily available, well-established guidelines on the internet for making

  Websites accessible to the blind and visually disabled. These guidelines have been followed by

  other large business entities in making their websites accessible. Examples of such guidelines

  include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

  performed using a keyboard. Incorporating such basic components to make the Website accessible




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  would neither fundamentally alter the nature of Defendant’s business nor would it result in an

  undue burden to Defendant.

         59.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

  access to the Website by individuals such as Plaintiff with visual disabilities who require the

  assistance of interface with screen reader software to comprehend and access internet websites.

  These violations within the Website are ongoing.

         60.     The ADA requires that public accommodations and places of public

  accommodation ensure that communication is effective.

         61.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

  text, and video-based telecommunications products and systems”.                 Indeed, 28 C.F.R.

  §36.303(b)(2) specifically states that screen reader software is an effective method of making

  visually delivered material available to individuals who are blind or have low vision.

         62.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

  appropriate auxiliary aids and services where necessary to ensure effective communication with

  individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

  in accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

         63.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations, and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.




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         64.     As alleged hereinabove, the Website has not been designed to interface with the

  widely and readily available technologies that can be used to ensure effective communication, and

  thus violates the ADA.

         65.     As a direct and proximate result of Defendant’s failure to provide an ADA

  compliant Website, with a nexus to its brick-and-mortar stores, Plaintiff has suffered an injury in

  fact by being denied full access to, enjoyment of, and communication with Defendant’s Website

  and its physical stores.

         66.     Because of the inadequate development and administration of the Website, Plaintiff

  is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

  ongoing disability discrimination.

         67.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff appropriate and necessary injunctive relief, including an order to:

         a) Require Defendant to adopt and implement a web accessibility policy to make publicly

  available and directly link from the homepage of the Website to a functional statement as to the

  Defendant’s policy to ensure persons with disabilities have full and equal access to and enjoyment

  of the goods, services, facilities, privileges, advantages, and accommodations of the physical stores

  through the Website.

         b) Require Defendant to take the necessary steps to make the Website readily accessible

  to and usable by blind and visually disabled users, and during that time period prior to the

  Website’s being made readily accessible, provide an alternative method for individuals with visual

  disabilities to access the information available on the Website until such time that the requisite

  modifications are made, and




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         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  visual disabilities will be able to effectively communicate with the Website for purposes of

  viewing and locating Defendant’s physical stores and becoming informed of and purchasing

  Defendant’s merchandise, and during that time period prior to the Website’s being designed to

  permit individuals with visual disabilities to effectively communicate, to provide an alternative

  method for individuals with visual disabilities to effectively communicate for such goods and

  services made available to the general public through the Website and the physical stores.

         68.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

  pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

  for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

  services.

         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         A. A declaration that Defendant’s Website is in violation of the ADA;

         B. An Order requiring Defendant, by a date certain, to update the Website, and continue

               to monitor and update the Website on an ongoing basis, to remove barriers in order that

               individuals with visual disabilities can access, and continue to access, the Website and

               effectively communicate with the Website to the full extent required by Title III of the

               ADA;

         C. An Order requiring Defendant, by a date certain, to clearly display the universal

               disabled logo within the Website, wherein the logo1 would lead to a page which would




  1
                       or similar.
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           state Defendant’s accessibility information, facts, policies, and accommodations. Such

           a clear display of the disabled logo is to ensure that individuals who are disabled are

           aware of the availability of the accessible features of the Website;

        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform

           all web content and services with ADA accessibility requirements and applicable

           accessibility guidelines;

        I. An Order directing Defendant, by a date certain and at least once every three months

           thereafter, to conduct automated accessibility tests of the Website to identify any

           instances where the Website is no longer in conformance with the accessibility



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            requirements of the ADA and any applicable accessibility guidelines, and further

            directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

            counsel for review;

         J. An Order directing Defendant, by a date certain, to make publicly available and directly

            link from the Website homepage, a statement of Defendant’s Accessibility Policy to

            ensure the persons with disabilities have full and equal enjoyment of the Website and

            shall accompany the public policy statement with an accessible means of submitting

            accessibility questions and problems;

         K. An award to Plaintiff of his reasonable attorney’s fees, costs and expenses; and

         L. Such other and further relief as the Court deems just and equitable.



         DATED: December 14, 2022.

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